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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



IN RE GEORGIA SENATE BILL 202               MASTER CASE NO.
                                            1:21-MI-55555-JPB
THE NEW GEORGIA PROJECT, et
al.,

      Plaintiffs,                           Case No. 1:21-CV-01229-JPB

v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

      Defendants.

GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

      Plaintiffs,
                                            Case No. 1:21-CV-01259-JPB
v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of the
State for the State of Georgia, et al.,

      Defendants.




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SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH,
et al.,

      Plaintiffs,                              CIVIL ACTION
v.
                                               Case No. 1:21-CV-01284-JPB
BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

      Defendants.

ASIAN AMERICANS ADVANCING
JUSTICE-ATLANTA, et al.,

      Plaintiff,
                                               Case No. 1:21-CV-01333-JPB
v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

      Defendants.

THE CONCERNED BLACK CLERGY
OF METROPOLITAN ATLANTA,
INC., et al.,

      Plaintiffs,                              Case No. 1:21-CV-01728-JPB

v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

      Defendants.


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UNITED STATES OF AMERICA,

      Plaintiff,
                                              Case No. 1:21-CV-2575-JPB
v.

THE STATE OF GEORGIA, et al.,

      Defendants.

VOTE AMERICA, et al.,

      Plaintiffs,
v.                                            Case No. 1:21-CV-01390-JPB
BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State for the State of Georgia, et al.,
      Defendants.
COALITION FOR GOOD
GOVERNANCE, et al.,

      Plaintiffs,
                                              Civil Action No. 21-cv-02070-
v.
                                              JPB
BRIAN KEMP, et al.,

      Defendants.


                       STIPULATED PROTECTIVE ORDER

     In order to facilitate the release of certain information by the parties to

this Stipulated Protective Order (“the Order”), the parties in the above-

captioned cases (the “Parties”) have agreed to the terms of this Order;

accordingly, it is ORDERED:


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      1.      Parties Bound by this Stipulation and Confidentiality

      Agreement. This Order shall be binding upon all Parties, all Parties’

counsel and their law firms, and their employees, officers, directors, and

agents, testifying and non-testifying experts (“consultants”), and their staff,

and persons made subject to this agreement by its terms.

      2.      Scope and Third Parties. As used in this Order, the term

“document” shall mean all documents, electronically stored information, and

tangible things within the scope of Fed. R. Civ. P. 26(a)(1)(A)(ii) and 34(a)(1).

A draft or non-identical copy is a separate document within the meaning of this

term. All documents produced in the course of discovery or in response to

requests made by Plaintiffs, including but not limited to, letters dated June 28,

2021 and December 22, 2021 (“documents”) shall be subject to this Order as

set forth below. Any Party and all third parties who have received subpoenas

(collectively for purposes of this Order, “Designating Parties”) may designate

materials     as   “CONFIDENTIAL”          or   “HIGHLY      CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” under this Order if they make a good faith

determination that there is good cause to designate such materials under the

terms of this Order and pursuant to Fed. R. Civ. P. 26(c). The Designating

Party bears the burden of demonstrating that a designation is appropriate, if

challenged.

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      This Order is subject to the Local Rules of this District and the Federal

Rules of Civil Procedure.

      3.    CONFIDENTIAL Material. Unless such information is a public

record under relevant law, or has previously been publicly released by a

government agency (state or local), the following information, whether

produced by a Party or third party, shall be deemed “CONFIDENTIAL” for

purposes of this Order:

      a.    Particular Individual Information:

            i.      The social security numbers of individuals, in whole or in

                    part;

            ii.     The driver’s license numbers of individuals;

            iii.    The birth dates of individuals;

            iv.     The personal telephone numbers of individuals;

            v.      The personal email addresses of individuals or other contact

                    information used for electronic messaging;

            vi.     The digitized signature of an individual;

            vii.    Other government-issued, including tribal government-

                    issued, unique identifiers of individuals;

            viii.   All parts of the Georgia statewide voter registration

                    database that are not otherwise available for public

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                  inspection and copying pursuant to federal or Georgia law;

                  and

            ix.   Other information that is not public pursuant to federal or

                  Georgia law that could reveal the identity of a specific

                  individual.

     b.     Such other information that the Parties mutually agree in good

            faith meets the good cause standard and should be considered

            “CONFIDENTIAL.”

     c.     Nothing     contained   herein   prohibits   any   third-party   from

            designating materials if they make a good faith determination that

            there is good cause to designate such materials under the terms of

            this Order and pursuant to Fed. R. Civ. P. 26(c).

     d.     The Designating Party bears the burden of demonstrating that a

            designation is appropriate, if challenged.

     4.     “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY”

Material:   Unless such information has previously been deemed a public

record by a federal or state court located in Georgia, or has previously been

publicly released by a government agency (state or local), the following

information, whether produced by a Party or third-party, shall be deemed

“HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY” material for the

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purposes of this Order; however, the fact that such information is listed in this

Order shall not be construed as a waiver of a Party’s objections to the

production or disclosure of said information or as an agreement to produce such

information absent a further order of this Court:

      a.    Particular Individual Information:

            i.    Information that would compromise the secrecy of a voter’s

                  ballot if publicly disclosed;

            ii.   Other information that is protected from disclosure under

                  federal or Georgia law that could reveal the identity of a

                  specific individual.

      b.    Particular Information Regarding Security:

            i.    Methods, tools, and instrumentalities of security tests,

                  audits, and investigations, but not findings (unless

                  disclosure of such findings would create a threat to the

                  security of voting systems or other State infrastructure); and

            ii.   Information related to security of voting systems that would

                  create a threat to the ongoing security of such systems if

                  publicly disclosed.

      c.    The Designating Party bears the burden of demonstrating that a

            designation is appropriate, if challenged.

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      5.    Designation       of    “CONFIDENTIAL”            Material      and

Application of Confidentiality Provisions. The designation of material in

the form of documents, discovery responses, or other tangible material other

than depositions or other pre-trial testimony shall be made by the Designating

Party by affixing the legend “CONFIDENTIAL” on each page containing

information to which the designation applies. The designation of deposition

testimony shall be in accordance with paragraph 6 below. All material

designated “CONFIDENTIAL” that is not reduced to documentary, tangible,

or physical form or that cannot be conveniently designated in the manner set

forth above shall be designated by the Designating Party by informing the

Party receiving the document or information (“the Receiving Party”) of the

designation in writing. The confidentiality rules in this Order will apply to all

material marked “CONFIDENTIAL.”

      a.    Basic Principles. A Receiving Party may use “CONFIDENTIAL”

            information that is disclosed or produced by any Designating Party

            in connection with this case only for prosecuting, defending, or

            attempting to settle this litigation. “CONFIDENTIAL” material

            may be disclosed only to the categories of persons and under the

            conditions described in this Order. “CONFIDENTIAL” material

            must be stored and maintained by a Receiving Party at a location

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     and in a secure manner that ensures that access is limited to the

     persons authorized under this agreement.

b.   Disclosure of “CONFIDENTIAL” Information or Items.

     Unless otherwise ordered by the Court or permitted in writing by

     the     Designating       Party,     any     material   designated

     “CONFIDENTIAL” may only be disclosed to:

     i.     counsel of record in this action, as well as employees and

            agents of counsel to whom it is reasonably necessary to

            disclose the information for this litigation;

     ii.    experts and consultants, and their staff, to whom disclosure

            is reasonably necessary for this litigation and who have

            signed the “Acknowledgment and Agreement to Be Bound”

            (Exhibit A);

     iii.   the Court, court personnel, and court reporters and their

            staff;

     iv.    copy or imaging services retained by counsel to assist in the

            duplication of “CONFIDENTIAL” material, including E-

            discovery vendors, after execution of the “Acknowledgement

            and Agreement to Be Bound” (Exhibit A);



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     v.      language translation vendors retained by counsel to assist in

             the translation of “CONFIDENTIAL” material, after

             execution of the “Acknowledgement and Agreement to Be

             Bound” (Exhibit A);

     vi.     during, or in preparation for, their depositions, witnesses in

             the action to whom disclosure is reasonably necessary and

             who have signed the “Acknowledgement and Agreement to

             Be Bound” (Exhibit A), unless otherwise agreed by the

             Designating Party or ordered by the Court;

     vii.    the author or recipient of a document containing the

             information or a custodian or other person who otherwise

             possessed or knew the information;

     viii.   Parties, only after execution of the “Acknowledgement and

             Agreement to Be Bound” (Exhibit A); and

     ix.     employees, officers, representatives, and directors of Parties,

             to whom disclosure is reasonably necessary for this

             litigation, only after execution of the “Acknowledgement and

             Agreement to Be Bound” (Exhibit A), and




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     x.    any mediator or settlement officer, and their supporting

           personnel, mutually agreed upon by any of the Parties

           engaged in settlement discussions.

c.   Filing “CONFIDENTIAL” Material. Any documents (including

     briefs), tangible things or information designated as Confidential

     that are submitted to the court in support of or in opposition to a

     motion or introduced at a hearing or during trial may retain their

     protected confidential status only by order of the Court in

     accordance with the procedures outlined in Section III.k. of the

     Court’s Standing Order Regarding Civil Litigation. A party

     seeking to file a document with the Court under seal shall comply

     with the procedures set forth in NDGA Local Rules, Appendix H,

     Section II.J.2 and Section III.k of the Court’s Standing Order.

           With the exception of Particular Individual Information,

     before filing “CONFIDENTIAL” material or discussing or

     referencing such material in court filings, the filing Party shall

     confer with the Designating Party to determine whether the

     Designating    Party    will   remove    the   “CONFIDENTIAL”

     designation, whether the document can be redacted, or whether a

     motion to seal is warranted. With respect to Particular Individual

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            Information, any such information included in a Court filing shall

            be redacted without the need for any meet and confer process. If

            the Parties cannot agree on the handling of “CONFIDENTIAL”

            material in court filings, then the Party seeking to file such

            material must either move to file the material under seal or for a

            court order permitting filing on the public record.

      6.    Designation of “HIGHLY CONFIDENTIAL-ATTORNEYS’

EYES ONLY” Material and Application of “HIGHLY CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” Provisions. The designation of material in the

form of documents, discovery responses, or other tangible materials other than

depositions or other pre-trial testimony shall be made by the Designating Party

by affixing the legend “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” on each page containing information to which the designation applies.

The designation of deposition testimony shall be in accordance with paragraph

7 below. All material designated “HIGHLY CONFIDENTIAL-ATTORNEYS’

EYES ONLY” that is not reduced to documentary, tangible, or physical form

or that cannot be conveniently designated in the manner set forth above shall

be designated by the Designating Party by informing the Receiving Party of

the   designation   in   writing.   All    documents   designated   “HIGHLY



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CONFIDENTIAL-ATTORNEYS’ EYES ONLY” by any Party shall be governed

by this section.

      a.    Basic Principles. A Receiving Party may use “HIGHLY

            CONFIDENTIAL-ATTORNEYS’ EYES ONLY” material that is

            disclosed or produced by another Party or by a non-party in

            connection with this case only for prosecuting, defending, or

            attempting to settle this litigation. “HIGHLY CONFIDENTIAL-

            ATTORNEYS’ EYES ONLY” material may be disclosed only to the

            categories of persons and under the conditions described in this

            Order. “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY”

            material must be stored and maintained by a Receiving Party at a

            location and in a secure manner that ensures that access is limited

            to the persons authorized under this agreement.

      b.    Disclosure of “HIGHLY CONFIDENTIAL-ATTORNEYS’

            EYES ONLY” Information or Items. Unless otherwise ordered

            by the Court or permitted in writing by the Designating Party, any

            material designated “HIGHLY CONFIDENTIAL-ATTORNEYS’

            EYES ONLY” may only be disclosed to:




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     i.     counsel of record in this action, as well as employees and

            agents of counsel to whom it is reasonably necessary to

            disclose the information for this litigation;

     ii.    experts and consultants, and their staff, to whom disclosure

            is reasonably necessary for this litigation and who have

            signed the “Acknowledgment and Agreement to Be Bound”

            (Exhibit A);

     iii.   the Court, court personnel, and court reporters and their

            staff;

     iv.    copy or imaging services retained by counsel to assist in the

            duplication of “HIGHLY CONFIDENTIAL-ATTORNEYS’

            EYES      ONLY”        material,   after   execution   of   the

            “Acknowledgement and Agreement to Be Bound” (Exhibit

            A);

     v.     language translation vendors retained by counsel to assist in

            the      translation     of    “HIGHLY       CONFIDENTIAL-

            ATTORNEYS’ EYES ONLY” material, after execution of the

            “Acknowledgement and Agreement to Be Bound” (Exhibit

            A);



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     vi.     during their depositions, witnesses in the action to whom

             disclosure is reasonably necessary and who have signed the

             “Acknowledgment and Agreement to Be Bound” (Exhibit A),

             unless otherwise agreed by the Designating Party or ordered

             by the Court;

     vii.    the author or recipient of a document containing the

             information or a custodian or other person who otherwise

             possessed or knew the information; and

     viii.   E-discovery     vendors,   only   after   execution   of   the

             “Acknowledgement and Agreement to Be Bound” (Exhibit

             A).

c.   Filing        “HIGHLY    CONFIDENTIAL-ATTORNEYS’               EYES

     ONLY” Material. Any documents (including briefs), tangible

     things or information designated as Confidential that are

     submitted to the court in support of or in opposition to a motion or

     introduced at a hearing or during trial may retain their protected

     confidential status only by order of the Court in accordance with

     the procedures outlined in Section III.k. of the Court’s Standing

     Order Regarding Civil Litigation. A party seeking to file a

     document with the Court under seal shall comply with the

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            procedures set forth in NDGA Local Rules, Appendix H, Section

            II.J.2 and Section III.k of the Court’s Standing Order.

                  Before filing “HIGHLY CONFIDENTIAL-ATTORNEYS’

            EYES ONLY” material or discussing or referencing such material

            in court filings, the filing Party shall confer with the Designating

            Party to determine whether the Designating Party will remove the

            “HIGHLY       CONFIDENTIAL-ATTORNEYS’                 EYES    ONLY”

            designation, whether the document can be redacted, or whether a

            motion to seal is warranted. If the Parties cannot agree on the

            handling of “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

            ONLY” material in court filings, then the Party seeking to file such

            material must either move to file the material under seal or for a

            court order permitting filing on the public record.

      7.    Designation of Deposition Testimony. In order to designate

deposition testimony as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-

ATTORNEYS’ EYES ONLY,” the Designating Party shall give prompt notice

that it will seek the protections of this Order either at the deposition or within

twenty-one (21) days after receipt of the final deposition transcript, in

accordance with the provisions and restrictions of this Order. Unless otherwise

designated at or during the deposition, all deposition testimony shall be

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treated as if designated “CONFIDENTIAL” until the expiration of such

twenty-one (21) day period.

      8.    Documents, Things, and Information Produced by Non-

Parties.    Any Party may designate as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” any documents or things

produced by a non-party in this action that contain information deemed

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” by the Designating Party by providing written notice of the designation

to all counsel of record and to counsel for the disclosing non-party within thirty

(30) days after the Designating Party receives the produced document or thing.

If no Party designates the document or thing as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY” within the thirty

(30) day period, and if the disclosing non-party has not designated the

document or thing as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-

ATTORNEYS’ EYES ONLY”, then the document or thing shall be considered

not to contain any “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” information.

      9.    Use of Documents Containing Redacted CONFIDENTIAL

Information. The Parties and their counsel and experts agree to redact

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

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ONLY” information from documents before: (a) using such documents at trial,

any hearing, or any court proceeding; (b) attaching such documents to any

publicly-filed pleading or filing; or (c) using such documents in any other way

where the documents could be seen by the public or by anyone not bound by

this Order.

      10.     Other Redactions. Nothing in this Order precludes the Parties

from making redactions for privilege or for other legal reasons before

documents are produced.

      11.     Inadvertent Disclosure.

      a.      “CONFIDENTIAL”         and       “HIGHLY     CONFIDENTIAL-

ATTORNEYS’ EYES ONLY.” A Party that has inadvertently produced

“CONFIDENTIAL”        Information   or   “or   “HIGHLY    CONFIDENTIAL        -

ATTORNEYS’ EYES ONLY” Information without so designating it may at any

time re-designate such information as “CONFIDENTIAL” or “or “HIGHLY

CONFIDENTIAL-ATTORNEYS’             EYES       ONLY.”   The   inadvertent   or

unintentional     disclosure   of   “CONFIDENTIAL”       or   “or   “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” information shall not be

deemed a waiver, in whole or in part, of any Party’s claims of confidentiality.

If a Party inadvertently or unintentionally produces “CONFIDENTIAL”

Information or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY”

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Information without designating it as such in accordance with the provisions

of this Order, that Party shall promptly upon discovery, either: (a) demand the

return     or     destruction   of   the        “CONFIDENTIAL”   or   “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” Information; or (b) furnish a

properly marked substitute copy, along with written notice to all Parties that

such document or information is deemed “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” and should be treated as such

in accordance with the provisions of this Order. Each Receiving Party must

treat such document or information as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL-ATTORNEYS’ EYES ONLY” from the date such notice is

received, but each Receiving Party shall have no liability for any disclosures of

such information that were made prior to re-designation. If prior to receiving

such notice, the Receiving Party had disclosed the inadvertently undesignated

material to persons or entities not authorized to receive it under this Order,

the Receiving Party must report such disclosure to the Designating Party and

make reasonable efforts to retrieve it, and the Receiving Party must make

reasonable efforts thereafter to assure that the material is treated in

accordance with the provisions of this Order.

      b.        Information subject to a claim of privilege or protection as

trial-preparation material. In the event that information subject to a claim

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of privilege or protection as trial-preparation material is produced in the course

of this litigation, the production does not operate as a waiver if (1) the

disclosure was inadvertent; (2) the holder of the privilege or protection took

reasonable steps to prevent disclosure; and (3) the holder of the privilege or

protection took reasonable steps to rectify the error, including following

Federal Rule of Civil Procedure 26(b)(5)(B).

      12.   Challenge        of     “CONFIDENTIAL”             or     “HIGHLY

CONFIDENTIAL - ATTORNEYS’ EYES ONLY” Designations. Any Party

who wishes to challenge the propriety of the designation of Information as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” may do so by providing written notice to the Designating Party at any

time up to ten (10) days before the pretrial conference or ten (10) days before

trial, whichever is earlier. The notice shall (a) attach a copy of each document

subject to challenge, or identify each such document by production number or

other appropriate designation, and (b) set forth the reason for such objection.

The objecting Party and the Designating Party shall attempt in good faith to

resolve any challenge on an informal basis. If an agreement cannot be reached,

the objecting Party may seek a decision from the Court with respect to the

propriety of the designation. The subject material will continue to be protected

under this Protective Order until the Court orders otherwise.

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      13.   No Waiver. The inadvertent failure to assert a claim of attorney-

client or other privilege or protection under the work product doctrine shall not

constitute a waiver of the right to claim a privilege or protection. Any Party

may challenge any such claim of privilege or protection on any ground.

      14.   Order Remains in Effect. This Order shall remain in effect

throughout the course of this litigation and during any appeals. Following the

termination of this litigation, the Order shall remain in effect for

CONFIDENTIAL information derived from properly designated documents,

and the Court shall retain jurisdiction to enforce this provision.

      15.   Destruction      of   Un-Redacted        Documents       Containing

CONFIDENTIAL Information. This Paragraph applies to documents that

contain un-redacted “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-

ATTORNEYS EYES ONLY” information. Except as otherwise prohibited by

federal law (including the Federal Records Act, 44 U.S.C. § 3301 et seq.) or the

law of Georgia, within ninety days after final disposition of this case not subject

to further appeal, the Parties and their counsel and experts, and all other

persons having possession, custody, or control of such documents, shall either:

(a) return all such documents and any copies thereof to the individual or entity

that produced the documents; or (b) destroy hard copies of such documents and

all copies thereof with a shredder and make reasonable efforts to delete all

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electronic copies of such documents from all systems and databases.

Notwithstanding the above requirement, the Parties are entitled to retain (a)

one copy of pleadings, expert reports, exhibits, or other documents made part

of the court record containing un-redacted CONFIDENTIAL information and

(b) un-redacted CONFIDENTIAL information that is incorporated in attorney

work product so long as the Parties restrict access to such information to those

persons who are permitted access under the Order.

      16.   Action by the Court. Nothing in this Order or any action or

agreement of a Party under this Order limits the Court’s power to make any

Orders that may be appropriate with respect to the use and disclosure of any

documents produced or used in discovery or at trial, including the ability to

order removal of a “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” designation.

      17.   Order Subject to Modification. This Order shall be subject to

modification by the Court on its own motion or on motion of any Party or any

other person with standing concerning the subject matter.

      18.   No Prior Judicial Determination. This Order is entered based

on the presentations and agreements of the Parties and for the purpose of

facilitating discovery. Nothing herein shall be construed or presented as a

judicial determination that any CONFIDENTIAL documents or information

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are subject to protection under Rule 26(c) of the Federal Rules of Civil

Procedure or otherwise until such time as the Court may rule on a specific

document or issue.

      19.   Persons Bound and Retroactivity. This Order shall take effect

when entered and shall be binding upon all counsel and their law firms, the

Parties and their employees, officers, directors, and agents, testifying experts

and consultants, and their staff, and persons made subject to this Order by its

terms. This Order shall apply to all documents in this litigation, including any

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” Information, appropriately marked as such, that was produced prior to

the Order being signed.




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      IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD this

22nd day of February, 2022.


Pamela S. Karlan                         Christopher M. Carr
Principal Deputy Assistant               Attorney General
Attorney General                         Georgia Bar No. 112505
                                         Bryan K. Webb
/s/ Maura Eileen O’Connor                Deputy Attorney General
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     PURSUANT TO STIPULATION, IT IS SO ORDERED, this 22nd
                                                     ____ day of

  February
_____________, 2022.


                                  _____________________________
                                  Hon. J. P. Boulee
                                  United States District Judge
                                  Northern District of Georgia




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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



IN RE GEORGIA SENATE BILL 202               MASTER CASE NO.
                                            1:12-MI-55555-JPB

THE NEW GEORGIA PROJECT, et
al.,

      Plaintiffs,                           Case No. 1:21-CV-01229-JPB

v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

      Defendants.

GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

      Plaintiffs,
                                            Case No. 1:21-CV-01259-JPB
v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of the
State for the State of Georgia, et al.,

      Defendants.




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SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH,
et al.,

      Plaintiffs,                           CIVIL ACTION
v.
                                            Case No. 1:21-CV-01284-JPB
BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

      Defendants.

ASIAN AMERICANS ADVANCING
JUSTICE-ATLANTA,

      Plaintiff,
                                            Case No. 1:21-CV-01333-JPB
v.

BRAD RAFFENSPERGER, in his
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Secretary of State, et al.,

      Defendants.

THE CONCERNED BLACK CLERGY
OF METROPOLITAN ATLANTA,
INC., et al.,

      Plaintiffs,                           Case No. 1:21-CV-01728-JPB

v.

BRAD RAFFENSPERGER, in his
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Secretary of State, et al.,

      Defendants.


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UNITED STATES OF AMERICA,

      Plaintiff,
                                               Case No. 1:21-CV-2575-JPB
v.

THE STATE OF GEORGIA, et al.,

      Defendants.

VOTE AMERICA, et al.,

      Plaintiffs,
v.                                             Case No. 1:21-CV-01390-JPB
BRAD RAFFENSPERGER, in his
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State for the State of Georgia, et al.,
      Defendants.
COALITION FOR GOOD
GOVERNANCE, et al.,

      Plaintiffs,
                                               Civil Action No. 21-cv-02070-
v.
                                               JPB
BRIAN KEMP, et al.,

      Defendants.


      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

     The undersigned hereby acknowledges that he/she has read the

Stipulated Protective Order dated January __, 2022 in the above-captioned

action and attached hereto, understands the terms thereof, and agrees to be

bound by its terms. The undersigned submits to the jurisdiction of the United


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States District Court for the Northern District of Georgia in matters relating

to the Stipulated Protective Order.

The undersigned acknowledges that violation of the Stipulated Protective
Order may result in penalties for contempt of court or any other penalty
otherwise imposed by the United States District Court for the Northern
District of Georgia.



Signed: _____________________ by _________________________ (print name)

Business Address: ___________________________________________________

Date: _____________________




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